 Case 2:16-cv-01007-R-AJW Document 205 Filed 06/21/19 Page 1 of 14 Page ID #:14908




 1
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 3
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 7   Facsimile: (310) 593-9980
 8
     Attorneys for Plaintiff
 9   REACHLOCAL, INC.
10
                          UNTIED STATES DISTRICT COURT
11
            CENTRAL DISTRICT OF CALIFORNIA – CENTRAL DIVISION
12
13
14 REACHLOCAL,  INC., a Delaware            CASE NO. 2:16-cv-01007-R-AJW
   corporation,
15                                          Judge: Hon. Manuel L. Real
          Plaintiff,                        Amd. Cmplt Filed: March 11
16
           v.                               DECLARATION OF JILL
17                                          GLENNON PURSUANT TO FED.
   PPC CLAIM LIMITED, a British             RULE CIV. PROC 55(b)(1) AND
18 limited company; KIERAN PAUL             LOCAL RULE 55-1 IN SUPPORT
   CASSIDY, an individual, DOES 1-50,       OF REACHLOCAL’S MOTION
19                                          FOR DEFAULT JUDGMENT
          Defendants.
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                               GLENNON DECLARATION
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 1                            DECLARATION OF JILL GLENNON
 2   I, Jill Glennon, declare as follows:
 3         1.     I am Senior Counsel with Brown, Neri, Smith & Khan & LLP, which
 4   represents plaintiff ReachLocal, Inc. (“ReachLocal”) in the above-captioned
 5   action. I have personal knowledge of all the facts set forth in this declaration and, if
 6   called upon, I could and would testify competently thereto.
 7         2.     On April 12, 2019, pursuant to the Civil Minutes of April 12, 2019
 8   [Dkt. 196], the Clerk of this Court entered default [Dkt. 197] as to defendants PPC
 9   Claims Limited (“PPC Claim”) and Kieran Paul Cassidy (“Cassidy” and,
10   collectively with PPC Claim, “Defendants”) on the First Amended Complaint of
11   ReachLocal, Inc. [Dkt. 16].
12         3.     Defendant Cassidy is an adult citizen of Great Britain. He is not an
13   incompetent person.
14         4.     Defendant PPC Claim is a British limited company.
15         5.     The Servicemembers Civil Relief Act (50 U.S.C. App. §521) does not
16   apply to this action.
17         6.     This action was dismissed for want of prosecution on October 12,
18   2016 [Dkt. 143].        ReachLocal appealed that dismissal.        While on appeal,
19   Defendants’ counsel of record filed a motion to withdraw as appellate counsel with
20   the Ninth Circuit. That motion was granted. Exhibit A is a true and correct copy
21   of the Ninth Circuit’s ruling. PPC Claim was ordered to enter an appearance for
22   new counsel, because it could not appear pro se. The Ninth Circuit further ordered
23   that a copy of its order be provided to PPC Claim and Cassidy at their address of
24   record: 1st Floor Offices, 132 George Land, South Woodford, London E18 1Ay.
25         7.     The dismissal for want of prosecution was ultimately reversed by the
26   Ninth Circuit and the case was remanded. Defendants’ attorneys subsequently
27   moved to withdraw as counsel of record in the District Court. This Court granted
28   that motion on April 12, 2018 [Dkt. 194] and ordered the Clerk to update the

                                   GLENNON DECLARATION
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 Case 2:16-cv-01007-R-AJW Document 205 Filed 06/21/19 Page 3 of 14 Page ID #:14910




 1   docket with the information that Cassidy’s address of record is 1 st Floor Offices,
 2   132 George Land, South Woodford, London E18 1Ay, which is the same address
 3   of record in the Ninth Circuit. There is no address of record for PPC Claim, which
 4   was ordered to make an appearance within fifteen days after the Order.
 5         8.      Since Defendants’ counsel first withdrew as appellate counsel, all
 6   notices sent to the above address of record in connection with this matter have
 7   been returned as “undeliverable as addressed, unable to forward” and neither
 8   Cassidy nor PPC Claim have provided this Court or the Court of Appeals with an
 9   updated address. Attached hereto as Exhibits B-D are the official notifications
10   from the Ninth Circuit regarding the returned and undeliverable mail.
11         9.      Based on the above, ReachLocal believes the address of record for
12   Cassidy is invalid and was invalid when provided to this Court in April 2018,
13   leaving ReachLocal without bona fide means to give notice by mail to Cassidy.
14   There is no address of record for PPC Claim, which also precludes service of
15   Defendant PPC Claim by mail. Neither defendant has consented in writing to
16   receiving service by electronic means and neither defendant has registered with the
17   ECF system.
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                                  GLENNON DECLARATION
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 Case 2:16-cv-01007-R-AJW Document 205 Filed 06/21/19 Page 4 of 14 Page ID #:14911




 1         10.   According to the declaration of Scott Lesowitz in support of his
 2   motion to withdraw as Defendants’ counsel, Cassidy was advised that PPC Claim
 3   could not appear in this action without counsel. Lesowitz further declared that he
 4   had provided Cassidy with the motion to withdraw (including his declaration),
 5   which placed Cassidy on notice of the fact that an invalid address for Cassidy was
 6   being provided to the Court by Mr. Lesowitz. [Dkt. 190] Notices from the Ninth
 7   Circuit had already been returned as undeliverable as of the date Mr. Lesowitz
 8   signed his declaration. See Exs. B-C.
 9         I declare under penalty of perjury under the laws of the United States of
10   America and laws of the State of California that the foregoing is true and
11   correct.
12         Executed on this 21st day of June, 2019 at Los Angeles, California.
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14                                               /s/ Jill Glennon
15                                               Jill Glennon
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                                 GLENNON DECLARATION
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                         EXHIBIT A
Case 2:16-cv-01007-R-AJW
            Case: 16-56644, Document
                            06/06/2017,
                                      205
                                        ID: 10461167,
                                            Filed 06/21/19
                                                       DktEntry:
                                                           Page28,
                                                                 6 of
                                                                   Page
                                                                      14 1Page
                                                                           of 2 ID #:14913



                             UNITED STATES COURT OF APPEALS                         FILED
                                  FOR THE NINTH CIRCUIT                              JUN 6 2017
                                                                                 MOLLY C. DWYER, CLERK
                                                                                  U.S. COURT OF APPEALS
   REACHLOCAL, INC., a Delaware                            No.        16-56644
   Corporation,
                                                           D.C. No.
                       Plaintiff-Appellant,                2:16-cv-01007-R-AJW
                                                           Central District of California,
     v.                                                    Los Angeles

   PPC CLAIM LIMITED, a British limited                    ORDER
   company; et al.,

                       Defendants-Appellees.

           The motion (Docket Entry No. 21) of Scott Lesowitz to withdraw as counsel

   for the appellees PPC Claim Limited and Kieran Paul Cassidy is granted.

           The court records shall be amended to reflect that Raines Feldman LLP are

   no longer counsel for the appellees PPC Claim Limited and Kieran Paul Cassidy,

   and that appellee Kieran Paul Cassidy is proceeding pro se.

           Appellee PPC Claim Limited is reminded that corporations must be

   represented by counsel before this court. See D-Beam Ltd. Partnership v. Roller

   Derby Skates, Inc., 366 F.3d 972, 973-74 (9th Cir. 2004).

           Within 21 days after the date of this order, appellee PPC Claim Limited shall

   cause new counsel to enter an appearance on its behalf. If PPC Claim Limited fails

   to timely comply with this order, this case will proceed on the basis of the briefs




   GS / 06/05/2017 /Pro Mo
                                      Glennon Decl. - Ex. A - p.001
Case 2:16-cv-01007-R-AJW
            Case: 16-56644, Document
                            06/06/2017,
                                      205
                                        ID: 10461167,
                                            Filed 06/21/19
                                                       DktEntry:
                                                           Page28,
                                                                 7 of
                                                                   Page
                                                                      14 2Page
                                                                           of 2 ID #:14914



   filed by the other parties to the appeal and PPC Claim Limited will not be heard at

   oral argument unless the court grants permission.

           The answering brief is now due July 24, 2017. The optional reply brief is

   due within 21 days after service of the answering brief.

           A copy of this order shall be provided to the appellees at:

                PPC Claim Limited
                Kiern Paul Cassidy
                1st Floor Offices, 132
                George Lane, South Woodford, London E18 1AY



                                                          FOR THE COURT:

                                                          MOLLY C. DWYER
                                                          CLERK OF COURT


                                                          By: Grace Santos
                                                          Deputy Clerk
                                                          Ninth Circuit Rule 27-7




   GS / 06/05/2017 /Pro Mo                       2                                  16-56644
                                    Glennon Decl. - Ex. A- p.002
Case 2:16-cv-01007-R-AJW Document 205 Filed 06/21/19 Page 8 of 14 Page ID #:14915




                         EXHIBIT B
Case 2:16-cv-01007-R-AJW Document 205 Filed 06/21/19 Page 9 of 14 Page ID #:14916
                                                        Thursday, June 20, 2019 at 4:09:19 PM Paciﬁc Daylight Time

Subject: 16-56644 ReachLocal, Inc. v. PPC Claim Limited, et al "Mail Returned"
Date: Thursday, October 12, 2017 at 5:25:30 PM Paciﬁc Daylight Time
From: ca9_ecfnoNcing@ca9.uscourts.gov
To:      Jill Glennon

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                                 United States Court of Appeals for the Ninth Circuit

NoQce of Docket AcQvity

The following transacNon was entered on 10/12/2017 at 5:25:15 PM PDT and ﬁled on 10/12/2017

Case Name:       ReachLocal, Inc. v. PPC Claim Limited, et al
Case Number: 16-56644


Docket Text:
Mail returned on 10/12/2017 addressed to Kieran Paul Cassidy and PPC Claim Limited, re: 09/08/2017 orders [31],
[32]. Returned envelope notes: We were unable to deliver this item because: addressee gone away, return to sender,
unclaimed, unable to forward. Resending to: case ﬁles; no forwarding address found. [10616279] (LA)

NoQce will be electronically mailed to:

Mr. Rowennakete Paul Barnes
Mr. Paul Fricke, I
Mr. Amjad Mahmood Khan, Aborney


Case parQcipants listed below will not receive this electronic noQce:


Kieran Paul Cassidy
1st Floor Oﬃces
132 George Lane
South Woodford, London, E18 1AY




                                             Glennon Decl. - Ex. B - p. 001                                       Page 1 of 1
Case 2:16-cv-01007-R-AJW Document 205 Filed 06/21/19 Page 10 of 14 Page ID #:14917




                         EXHIBIT C
Case 2:16-cv-01007-R-AJW Document 205 Filed 06/21/19 Page 11 of 14 Page ID #:14918
                                                        Thursday, June 20, 2019 at 4:09:41 PM Paciﬁc Daylight Time

 Subject: 16-56644 ReachLocal, Inc. v. PPC Claim Limited, et al "Mail Returned"
 Date: Wednesday, October 18, 2017 at 6:33:32 PM Paciﬁc Daylight Time
 From: ca9_ecfnoPcing@ca9.uscourts.gov
 To:      Jill Glennon

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                                 United States Court of Appeals for the Ninth Circuit

NoQce of Docket AcQvity

The following transacPon was entered on 10/18/2017 at 6:33:21 PM PDT and ﬁled on 10/18/2017

 Case Name:      ReachLocal, Inc. v. PPC Claim Limited, et al
 Case Number: 16-56644


Docket Text:
Mail returned on 10/16/2017 addressed to Kieran Paul Cassidy, re: deﬁciency noPce [34] sent on 09/14/2017.
Returned envelope notes: We were unable to deliver this item because: addressee gone away, return to sender,
unclaimed, unable to forward. Resending to: case ﬁles; no forwarding address found. [10623133] (LA)

NoQce will be electronically mailed to:

Mr. Rowennakete Paul Barnes
Mr. Paul Fricke, I
Mr. Amjad Mahmood Khan, Aborney


Case parQcipants listed below will not receive this electronic noQce:


Kieran Paul Cassidy
1st Floor Oﬃces
132 George Lane
South Woodford, London, E18 1AY




                                             Glennon Decl. - Ex. C - p. 001                                       Page 1 of 1
Case 2:16-cv-01007-R-AJW Document 205 Filed 06/21/19 Page 12 of 14 Page ID #:14919




                         EXHIBIT D
Case 2:16-cv-01007-R-AJW Document 205 Filed 06/21/19 Page 13 of 14 Page ID #:14920
                                                        Thursday, June 20, 2019 at 4:10:45 PM Paciﬁc Daylight Time

 Subject: 16-56644 ReachLocal, Inc. v. PPC Claim Limited, et al "Mail Returned"
 Date: Friday, April 13, 2018 at 2:32:32 PM Paciﬁc Daylight Time
 From: ca9_ecfnoNcing@ca9.uscourts.gov
 To:      Jill Glennon

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and parRes in a case (including pro se liRgants) to receive one free electronic copy of all documents ﬁled
electronically, if receipt is required by law or directed by the ﬁler. PACER access fees apply to all other users. To
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                                 United States Court of Appeals for the Ninth Circuit

NoRce of Docket AcRvity

The following transacNon was entered on 04/13/2018 at 2:32:25 PM PDT and ﬁled on 04/13/2018

 Case Name:      ReachLocal, Inc. v. PPC Claim Limited, et al
 Case Number: 16-56644


Docket Text:
Mail returned on 04/13/2018 addressed to Kieran Paul Cassidy, re: 03/16/2018 Mandate [41]. Returned envelope
notes: Return to sender, undeliverable as addressed, unable to forward. Resending to: case ﬁles - unable to locate
forwarding address. [10836573] (JBS)

NoRce will be electronically mailed to:

Mr. Rowennakete Paul Barnes
Mr. Paul Fricke, I
Mr. Amjad Mahmood Khan, A`orney




                                             Glennon Decl. - Ex. D - p. 001                                       Page 1 of 1
 Case 2:16-cv-01007-R-AJW Document 205 Filed 06/21/19 Page 14 of 14 Page ID #:14921




 1                           CERTIFICATE OF SERVICE
 2   I, Rowennakete P. Barnes, hereby declare under penalty of perjury as follows:
 3
          I am an attorney at the law firm of Brown Neri Smith & Khan, LLP,
 4
     with offices at 11601 Wilshire Boulevard,          Suite    2080, Los Angeles,
 5
     California   90025.   On     the   date   below,      I   caused    the   foregoing
 6
     DECLARATION OF JILL GLENNON PURSUANT TO FED. RULE CIV.
 7
     PROC     55(b)(1)     AND    LOCAL        RULE     55-1    IN      SUPPORT       OF
 8
     REACHLOCAL’S MOTION FOR                     DEFAULT JUDGMENT                to   be
 9
     electronically filed with the Clerk of the Court using the CM/ECF system
10
     which sent notification of such filing to counsel of record.
11
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13
     Executed on June 21, 2019.
14
15
16    /s/ Rowennakete P. Barnes
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                                   CERTFICATE OF SERVICE
